EXHIBIT 2(a)
                                                                                   October 2020
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                                      CURRICULUM VITA

                                      John Gregory Olley

Address

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University of North Carolina at Chapel Hill
Chapel Hill, North Carolina 27599-7255
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Education

College of William and Mary
Williamsburg, Va., A.B., 1966, Psychology

Wake Forest University
Winston-Salem, N.C., M.A., 1968, General-Experimental Psychology

George Peabody College for Teachers (now George Peabody College of Vanderbilt
University) Nashville, Tenn., Ph.D., 1973, Mental Retardation Research - Clinical Psychology;
"Related Area" - Special Education

Current Position

Psychologist, Adjunct Professor, Carolina Institute for Developmental Disabilities and
Clinical Professor, Division of Clinical Rehabilitation and Mental Health Counseling,
Department of Allied Health Sciences, School of Medicine, University of North Carolina at
Chapel Hill

Previous Positions Held

Program Director, Behavioral Associates of Massachusetts, Inc., Attleboro, MA and
Associate Clinical Director, The Groden Center, Inc., Providence, RI, June 1986 to July 1988.

Clinical Associate Professor, Department of Psychiatry, and Director of Training, Division
       TEACCH (Treatment and Education of Autistic and related Communication
       handicapped CHildren), and
Clinical Associate Professor, Division of Special Education, School of Education, University of
       North Carolina at Chapel Hill, March 1978 to June 1986.

Assistant Professor, Department of Psychology, University of Massachusetts, Amherst, MA,
       September 1972 - March 1978.

Director, Preschool Intervention Project, Psychological Services Center, University of
       Massachusetts, June 1973 - June 1975.

Professional Preparation
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Graduate Assistant in Psychology, Developmental Evaluation Clinic, Bowman Gray School of
Medicine of Wake Forest University, Winston-Salem, NC, September 1966 - August 1968.

Fellow, Training Program for Research Behavioral Scientists in Mental Retardation, George
Peabody College, Nashville, TN, September 1968 - August 1971.

Clinical Psychology - Mental Retardation Intern, Division of Medical Psychology,
Neuropsychiatric Institute, Center for the Health Sciences, University of California, Los
Angeles, CA, June 1970 - August 1970.

Clinical Child Psychology Intern, Children's Rehabilitation Unit, University of Kansas Medical
Center, Kansas City, KS, September 1971 - August 1972.

Editorial Work

Served as Guest Editor for: American Journal on Mental Retardation, American Journal of
Psychiatry, Behavior Therapy, Applied Research in Mental Retardation, Child Development,
Journal of Applied Behavior Analysis, Journal of Autism and Developmental Disorders,
Journal of Child and Family Studies, Journal of Clinical Child Psychology, Journal of Mental
Health Research in Developmental Disabilities, Journal of the Association for Persons with
Severe Handicaps, Journal of Intellectual Disabilities Research, Journal of Policy and Practice
in Intellectual Disabilities, International Journal of Forensic Mental Health, Law & Social
Inquiry, Merrill-Palmer Quarterly, Research in Autism Spectrum Disorders, Research in
Developmental Disabilities

Book Review Editor: Journal of Autism and Developmental Disorders, 1982 - 1986.

Consulting Editor: Preventing School Failure (formerly The Pointer), 1979 - 2016.

Consulting Editor: Focus on Autism and Other Developmental Disabilities, 1995 - 2016

Grants and Contracts

Principal Investigator: Contract with the North Carolina Council on Developmental Disabilities:
Development of the Council’s 5-Year Plan (March 2005-November 2005)

Principal Investigator: Youths for Advocacy, a Project of National Significance funded by the
U. S. Administration on Developmental Disabilities. (October 2007-September 2010)

Principal Investigator: Work Group on the Role of Psychologists in Atkins Hearings, funded by
the American Psychological Association (January 2007-November 2008)

Principal Investigator: Next Generation: Acting for Advocacy, a Project of National Significance
funded by the U. S. Administration on Developmental Disabilities. (October 2004-September
2007)

Principal Investigator (with Anne Wheeler): Linking Learning with Neurodevelopmental
Functioning: Management Strategies for Children with Prader-Willi Syndrome. Grant from the
Prader-Willi Research Foundation. (May 2006-April 2007)

Principal Investigator: 5-Year Plan Project, grant from the North Carolina Council on
Developmental Disabilities. (October 2005-June 2006)
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Principal Investigator: Transition to Community, contract with the NC Division of Mental Health,
Developmental Disabilities, and Substance Abuse Services. (June 2005 – September 2007)

Principal Investigator: Shifting the Power, a Project of National Significance funded by the U.S.
Administration on Developmental Disabilities. (October 2000 – September 2003)

Principal Investigator: Steps Toward Independence and Responsibility funded by the North
Carolina Council on Developmental Disabilities (September 2001 – August 2004)

Principal Investigator: contracts with Developmental Disabilities Section of NC Department of
Health and Human Services for surveys associated with the Core Indicators Project
(September 2000-June 2003), Summer Apprenticeship (April 1998-June 2000), Behavioral
Supports Clearinghouse (August 1998 – June 2000), training in Problem Solving for Life
(August 1998 –June 2000), Self-Determination and Self-Advocacy (April 1998 – present), and
consultation to community programs (September 1995 – June 2000).

Principal Investigator: “Learning for Life,” U.S. Administration on Developmental Disabilities,
October 1994-June 1997; July 1997-June 2001.

Contract with Thomas S. Section of NC Department of Human Resources, Screening of Adults
for Eligibility in the Thomas S. Class, February 1995-March 1996.

Principal Investigator: "Survey of Summer Campers with Spina Bifida and Their Siblings,"
University Research Council, University of North Carolina at Chapel Hill, June 1991 - May
1992.

Principal Investigator, Grumman Grant for continuing education for teachers to use the
TEACCH communication and social skills curricula, from Division of Extension and Continuing
Education, University of North Carolina, July 1, 1984 - June 30, 1985.

Early Education Component Director, "Model Educational Program for Autistic Children and
Youth," contract from Office of Special Education, October 1980 - January 1984.

One of the Participating Trainers, "National Personnel Training Program for Teachers of
Children with Autism," grant from Office of Special Education to National Society for Children
and Adults with Autism, August 1981 - May 1985.

Co-Director (with Eric Schopler): "Special Project: Comprehensive Inservice Training Program
for Personnel Serving Autistic Children," Office of Special Education, June 1979 - May 1982.

Co-Principal Investigator (with R. J. Simeonsson and L. M. Marcus): "An Observational
Approach to the Investigation of Educational Skills of Autistic Children," Research Grants in
Education for Young Scholars in the Behavioral Sciences, School of Education, University of
North Carolina at Chapel Hill, July 1978 - June 1979.

Co-Director (with Beth Sulzer-Azaroff): "Training Grant for Educational Change Strategists for
the Severely Handicapped," Bureau of Education for the Handicapped, July 1974 - March
1978.

Principal Investigator: Faculty Research Grant, University of Massachusetts, "Investigation of
Effects of Modeling on Diversity of Children's Drawings" (in collaboration with Richard
Dubanoski, University of Hawaii), June 1976 - May 1977.
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Principal Investigator: Broadened Faculty Research Grant, University of Massachusetts,
"Relaxation as a Self-Control Procedure for Children," fall semester, 1975.

Principal Investigator: contract between University of Massachusetts and Massachusetts
Department of Public Welfare for the Preschool Intervention Project, May 1973 - June 1975.




Honors

Fellow, Division on Intellectual and Developmental Disabilities, American Psychological
Association

Fellow, American Association on Intellectual and Developmental Disabilities

Recipient of the North Carolina Arc LIFEguardianship Distinguished Service Award, 1994

Recipient of the Excellence in Applied Behavior Analysis Award from the North Carolina
Association for Behavior Analysis, 1991

Recipient of the Distinguished Teacher in Psychology Award from Council of Undergraduate
Students in Psychology, University of Massachusetts, Amherst, 1974 and 1976.

Research and Publications

Olley, J. G. (1968). The effect of ready signal contingency and partial reinforcement on eyelid
    conditioning. Unpublished master's thesis, Wake Forest University, Winston-Salem, NC.

Stedman, D. J., & Olley, J. G. (1969). Bibliography of the world's clinical and research
   literature on Down's syndrome: Behavioral, social and educational studies through 1968
   (IMRID Papers and Reports, Vol. 6, No. 2). Nashville, TN: George Peabody College,
   Institute on Mental Retardation and Intellectual Development.

Olley, J. G. (1971). Sex differences in human behavior in the first year of life. (Peabody
    Papers on Human Development, Vol. 9, No. 1). Nashville, TN: George Peabody College.

Johnson, J. T., & Olley, J. G. (1971). Behavioral comparisons of mongoloid and nonmongoloid
   retarded persons: A review. American Journal of Mental Deficiency, 75, 546-559.

Olley, J. G. (1974). Mother-infant interactions during feeding (Doctoral dissertation, George
    Peabody College for Teachers, 1973). Dissertation Abstracts International, 34, 347B.
    (University Microfilms No. 73-32646).

Olley, J. G., & Fremouw, W. J. (1974). The voting rights of the mentally retarded: A survey of
    state laws. Mental Retardation, 12(1), 14-16. Reprinted in: (1974). Behavior Today, 5,
    112. Reprinted in: Office of Handicapped Individuals (1976). Handicapping conditions: A
    resource book. Atlanta: Transaction Systems.

Olley, J. G. (1977). Another influence on the direction of school psychology. American
    Psychologist, 32, 779. (Comment).
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Olley, J. G., & Ramey, G. D. (1978). Voter participation of retarded citizens in the 1976
    presidential election. Mental Retardation, 16, 255-258.

Loveland, K. K., & Olley, J. G. (1979). The effect of external reward on interest and quality of
   task performance in children of high and low intrinsic motivation. Child Development, 50,
   1207-1210.

McHale, S. M., & Simeonsson, R. J., Marcus, L. M., & Olley, J. G. (1980). The social and
  symbolic quality of autistic children's communication. Journal of Autism and Developmental
  Disorders, 10, 299-310.

Novak, M. A., Olley, J. G., & Kearney, D. S. (1980). Social skills of handicapped children in
  integrated and separate preschools. In T. M. Field (Ed.), High-risk infants and children:
  Adult and peer interactions (pp. 327-346). New York: Academic Press.

Olley, J. G. (1980). Organization of educational services for autistic children and youth. In B.
    Wilcox & A. Thompson (Eds.), Critical issues in educating autistic children and youth (pp.
    13-23). Washington, DC: US Department of Education, Office of Special
    Education/Division of Innovation and Development. Reprinted in (1981). Counterpoint,
    2(1), 1, 31-33.

Olley, J. G. (1980). Report of a survey on licensure of psychologists in mental retardation.
    Mental Retardation Newsletter, 1, 6.

Schopler, E., & Olley, J. G. (1980). Public school programing for autistic children. Exceptional
   Children, 46, 461-463.

Marcus, L. M., McHale, S. M., Olley, J. G., & Simeonsson, R. J. (1981). A Piagetian approach
  to investigate educational skills of autistic children. In P. Mittler (Ed.), Frontiers of
  knowledge in mental retardation. Proceedings of the Fifth Congress of IASSMD, Vol. 1,
  Social educational, and behavioral aspects (pp. 91-99). Baltimore: University Park Press.

McHale, S. M., Olley, J. G., Marcus, L. M., & Simeonsson, R. J. (1981). Nonhandicapped
  peers as tutors for autistic children. Exceptional Children, 48, 463-465.

Olley, J. G., DeVellis, R. F., DeVellis, B. M., Wall, A. J., & Long, C. E. (1981). The Autism
    Attitude Scale for Teachers. Exceptional Children, 47, 371-372.

Schopler, E., & Olley, J. G. (1982). Comprehensive educational services for autistic children:
   The TEACCH model. In T. B. Gutkin & C. R. Reynolds (Eds.), The handbook of school
   psychology (pp. 629-643). New York: Wiley.

Sulzer-Azaroff, B., & Olley, J. G. (1982). Training of psychologists in mental retardation: A
   graduate training program. Psychology in Mental Retardation: Division 33 Newsletter, 7(3),
   6-7.

McHale, S. M., & Olley, J. G. (1982). Using play to facilitate the social development of
  handicapped children. Topics in Early Childhood Special Education, 2(3), 76-86.

Olley, J. G., & Marcus, L. M. (1984). Considerations in the assessment of children with autism.
    In S. J. Weaver (Ed.), Testing children: A reference guide for effective clinical and
    psychoeducational assessments (pp. 71-84). Kansas City, MO: Test Corporation of
    America.
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Olley, J. G. (1985). Social aspects of language in autistic children. In E. Schopler & G. B.
    Mesibov (Eds.), Communication problems in autism (pp. 311-328). New York: Plenum.

Olley, J. G., & Rosenthal, S. L. (1985). Current issues in school services for students with
    autism. School Psychology Review, 14, 166-170.

Schopler, E., Olley, J. G., & Lansing, M. (1985). Jiheisho no chiryo-kyoiku purogurame
   [Remedial-education program for autism]. Tokyo: Budou-sha.

Olley, J. G. (1986). The TEACCH curriculum for teaching social behavior to children with
       autism. In E. Schopler & G. B. Mesibov (Eds.), Social behavior and autism (pp. 351-
       373). New York: Plenum. doi: 10.1007/978-1-4899-2242-7_17

Olley, J. G. (1987). Classroom structure and autism. In D. J. Cohen, & A. M. Donnellan (Eds.),
    Handbook of autism and pervasive developmental disorders (pp. 411-417). Silver Spring,
    MD: Winston.

Simeonsson, R. J., Olley, J. G., & Rosenthal, S. L. (1987). Early intervention for children with
   autism. In M. J. Guralnick & F. C. Bennett (Eds.), The effectiveness of early intervention
   for at risk and handicapped children (pp. 275-296). Orlando, FL: Academic Press.

Marcus, L. M., & Olley, J. G. (1988). Developing public school programs for autistic and other
  severely developmentally disabled students. In M. D. Powers (Ed.), Severe developmental
  disabilities: Expanding systems of interaction (pp. 179-197). Baltimore: Brookes.

Olley, J. G., & DiLavore, P. C. (1989). Special education. In T. B. Karasu (Ed.), Treatments of
    psychiatric disorders: A task force report of the American Psychiatric Association (pp. 123-
    129). Washington, DC: American Psychiatric Association.

Olley, J. G., & Marcus, L. M. (1989). Education for children with autism. In T. B. Karasu (Ed.),
    Treatments of psychiatric disorders: A task force report of the American Psychiatric
    Association (pp. 192-201). Washington, DC: American Psychiatric Association.

Olley, J. G., & Stevenson, S. E. (1989). Preschool curriculum for autistic children: Addressing
    early social skills. In G. Dawson (Ed.), Autism: Nature, diagnosis and treatment (pp. 346-
    366). New York: Guilford.

Olley, J. G. (1992). Autism: Historical overview, definition, and characteristics. In D. E. Berkell
    (Ed.), Autism: Identification, education, and treatment (pp. 3-20). Hillsdale, NJ: Lawrence
    Erlbaum.

   •   Olley, J. G., Robbins, F., & Morelli Robbins, M. (1993). Current practices in early
       intervention for children with autism. In E. Schopler, M. E. Van Bourgondien, & M.
       Bristol (Eds.), Preschool issues in autism (pp. 223-245). New York: Plenum. DOI:
   •   10.1007/978-1-4899-2441-4_11


Hooper, S. R., & Olley, J. G. (1996). Psychological comorbidity in adults with learning
  disabilities. In N. Gregg, C. Hoy, & A. F. Gay (Eds.), Adults with learning disabilities:
  Theoretical and practical perspectives (pp. 162-183). New York: Guilford.
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Olley, J. G., & Reeve, C. E. (1997). Curriculum and classroom structure. In D. J. Cohen (Ed.),
    Handbook of autism and pervasive developmental disorders (2nd ed., pp. 484-508). New
    York: Wiley.

Baroff, G. B., with Olley, J. G. (1999). Mental retardation: Nature, cause, and management (3rd
   ed.). Philadelphia: Brunner-Routledge.

Olley, J. G. (1999). Curriculum for students with autism. School Psychology Review, 28, 595-
    607.

Olley, J. G., & Gutentag, S. S. (1999). Autism: Historical overview, definition, and
    characteristics. In D. E. Zager (Ed.), Autism: Identification, education, and treatment (2nd
    ed., pp. 3-22). Hillsdale, NJ: Lawrence Erlbaum.

Paraschiv, I., & Olley, J. G. (1999). Problem Solving for Life: A training program in
   interpersonal skills. The NADD Bulletin, 2, 107-109.

Olley, J. G. (2005). Curriculum and classroom structure. In F. R. Volkmar, R. Paul, A. Klin, &
    D. Cohen (Eds.), Handbook of autism and pervasive developmental disorders (3rd ed., Vol.
    2, pp. 863-881). Wiley.

Olley, J. G., Greenspan, S., & Switzky, H. (2006). Division 33 Ad Hoc Committee on Mental
    Retardation and the Death Penalty. Psychology in Mental Retardation and Developmental
    Disabilities, 31(2), 11-13.

Olley, J. G. (2006). The assessment of adaptive behavior in adult forensic cases: Part 1.
    Psychology in Mental Retardation and Developmental Disabilities, 32(1), 2-4.

Olley, J. G. (2006). The assessment of adaptive behavior in adult forensic cases: Part 2. The
    importance of adaptive behavior. Psychology in Mental Retardation and Developmental
    Disabilities, 32(3), 7-8.

Olley, J. G. (2007). The assessment of adaptive behavior in adult forensic cases: Part 3.
    Sources of adaptive behavior information. Psychology in Mental Retardation and
    Developmental Disabilities, 33(1), 3-6.

Everington, C., & Olley, J. G. (2008). Implications of Atkins v. Virginia: Issues in defining and
   diagnosing mental retardation. Journal of Forensic Psychology Practice, 8, 1-23.

Larson, K. A., Griffin, M. P., & Olley, J. G. (2008). Competency to be sentenced. In B. L.
    Cutler (Ed.), Encyclopedia of psychology and law (Vol. 1, pp. 116-118). Sage.

Olley, J. G., & Cox, A. W. (2008). Assessment of adaptive behavior in adult forensic cases:
    The use of the Adaptive Behavior Assessment System-II. In T. Oakland & P. L. Harrison
    (Eds.), Adaptive Behavior Assessment System-II: Clinical use and interpretation (pp. 381-
    398). Elsevier.

Macvaugh, G. S., Salekin, K. L., & Olley, J. G. (2009). Mental retardation and the death
   penalty. In A. Jamieson & A. Moenssens (Eds.), Wiley encyclopedia of forensic science
   (pp. 1730-1737). Wiley.
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Marinos, V., Griffiths, D., Gosse, L., Robinson, J., Olley, J. G., & Lindsay, W. (2009). Legal
   rights and persons with intellectual disabilities. In F. Owen & D. Griffiths (Eds.), Challenges
   to the human rights of people with intellectual disabilities (pp. 124-154). Jessica Kingsley.

Olley, J. G. (2009). Challenges in implementing the Atkins decision. American Journal of
    Forensic Psychology, 27(2), 63-73.

Olley, J. G. (2009). Knowledge and experience required for experts in Atkins cases. Applied
    Neuropsychology, 16, 135-140. doi:10.1080/09084280902864477

Salekin, K. L., & Olley, J. G. (2009). Mental retardation/intellectual disability. In A. Jamieson &
    A. Moenssens (Eds.), Wiley encyclopedia of forensic science (pp. 1724-1730). Wiley.

Salekin, K. L., Olley, J. G., & Hedge, K. A. (2010). Offenders with intellectual disability:
      Characteristics, prevalence, and issues in forensic assessment. Journal of Mental
      Health Research in Intellectual Disabilities, 3, 97-116.
      https://doi.org/10.1080/19315861003695769

Chen, D., Salekin, K., Olley, J. G., & Fulero, S. M. (2011). Research with offenders with
   intellectual disability. In B. Rosenfeld & S. D. Penrod (Eds.), Research methods in forensic
   psychology (pp. 421-432). Wiley.

Olley, J. G. (2012). Intellectual disability past, present and future. Psychology in Intellectual
    and Developmental Disabilities, 38(1), 3-5.

Olley, J. G. (2012). The death penalty, the courts, and intellectual disability. In J. K. Luiselli
    (Ed.), The handbook of high-risk challenging behaviors: Assessment and intervention (pp.
    229-240).: Brookes.

Olley, J. G. (2013). Definition of intellectual disability in criminal court cases. Intellectual and
    Developmental Disabilities, 51, 117-121. doi:10.1352/1934-9556-51.2.117

Olley, J. G. (2014). Capital sentencing: Atkins-type cases. In K. Heilbrun, D. DeMatteo, S. B.
    Holiday, & C. LaDuke (Eds.) Forensic mental health assessment: A casebook (2nd ed., pp.
    146-163).: Oxford University Press.

Greenspan, S., & Olley, J. G. (2015). Variability of IQ test scores. In E. Polloway (Ed.), The
   death penalty and intellectual disability (pp. 141-153.).: American Association on
   Intellectual and Developmental Disabilities.

Olley, J. G. (2015). Adaptive behavior instruments. In E. Polloway (Ed.), The death penalty
       and intellectual disability (pp. 187-200). American Association on Intellectual and
       Developmental Disabilities.
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Olley, J. G. (2015). Time at which disability must be shown in Atkins cases. In E. Polloway
    (Ed.), The death penalty and intellectual disability (pp. 213-218). American Association on
    Intellectual and Developmental Disabilities.

Olley, J. G. (2018). Death penalty and intellectual disability. In E. Braaten (Ed.), SAGE
    encyclopedia of intellectual and developmental disorders (pp. 349-352). SAGE.

Aiello, P., Di Gennaro, D. C., Girelli, L., & Olley, J. G. (2018). Inclusione e atteggiamenti
    Dei docent verso gli student con disturb dello spettro autistic:Suggestioni de uno studio
     pilota (Inclusion and teachers’ attitudes towards students with autism spectrum disorder:
     Reflections from a pilot study). Formazione & Insegnamento, 15 (1), 175-188.
     doi: 107346/-fei-XVI-01-18_15

Olley, J. G., & Cox, A. W. (in press). Intellectual and developmental disabilities in the criminal
    justice system. In L. M. Glidden (Ed.), APA handbook on intellectual and developmental
    disabilities. American Psychological Association.

Papers presented (since 1990 only)

Olley, J. G. (1990, March). Behavioral services for adults with developmental disabilities in the
    community. Invited address presented at the meeting of the North Carolina Association for
    Behavior Analysis, Charlotte.

Olley, J. G. (1990, October). Workshop on assessment and treatment for people with dual
    diagnosis. Workshop presented at the meeting of the Berkshire Association for Behavior
    Analysis and Therapy, Amherst, MA.

Olley, J. G. (1991, February). A behavioral look at dual diagnosis. Invited presentation at the
    meeting of the North Carolina Association for Behavior Analysis, Greensboro, NC.

Olley, J. G., & Larkins, C. H. (1991, February). Implications of the 'Thomas S.' lawsuit for
    community services. Invited presentation at the Creative Dimensions in Developmental
    Disabilities conference, Greenville, NC.

Olley, J. G., & Hooper, S. R. (1991, August). Do people with mental retardation understand
    what they are asked in personality tests? Paper presented at the meeting of the American
    Psychological Association, San Francisco.

Olley, J. G. (1991, October). The future of research and services in autism. Keynote address
    at the annual EDEN Institute Conference on Autism, Princeton, NJ.

Olley, J. G. (1994, May). Psychopathology in individuals with mental retardation: A behavioral
    look at dual diagnosis. Paper presented at the meeting of the North Carolina Psychological
    Association, Atlantic Beach, NC.

Olley, J. G. (1995, August). Curriculum issues in autism. Invited presentation at the meeting on
    autism of the Texas Education Agency, Austin, TX.
Olley, J. G., Jens, K. G., & Klindworth, L. M. (1995, November). Learning for Life: Adult
       Education for Individuals with Mental Retardation. Paper presented at the meeting of
       the National Association for Adults with Special Learning Needs, Chicago, IL.
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Olley, J. G. (1995, December). Psychopathology and mental retardation: Educational and
       environmental approaches. Invited presentation at the meeting of the Alabama Council
       for Children with Behavioral Disorders, Birmingham, AL.

Olley, J. G. (1996, February). Behavioral treatment of individuals with Prader-Willi syndrome.
       Paper presented at the meeting of the North Carolina Association for Behavior
       Analysis, Asheville, NC.

Olley, J. G., & Jens, K. G. (1996, May). Issues in the education of adults with mental
       retardation. Paper presented at the meeting of the Commission on Adult Basic
       Education, Pittsburgh, PA.

Olley, J. G. (1996, May). What information do policymakers need to make policy in
       developmental disabilities? Symposium chaired at the meeting of the American
       Association on Mental Retardation, San Antonio, TX.

Olley, J. G., Jacob, A. V., Paraschiv, I., Klindworth, L. M., & Jens, K. G. (1996, May).
       Diagnosis of mental retardation in adults. Paper presented at the meeting of the
       American Association on Mental Retardation, San Antonio, TX.

Olley, J. G., & Paraschiv, I. (1996, September). Problem Solving for Life: Instruction for adults
       with mental retardation. Paper presented at the meeting of the National Association for
       Adults with Special Learning Needs, New Orleans, LA.

Olley, J. G. (1996, October). Autism: Conventional wisdom, careful research, and controversial
       approaches. Invited presentation at the 1996 Cornwell Lecture Series, Morganton, NC.

Olley, J. G. (1997, October). Curriculum for children and adults with autism. Paper presented
       at the meeting of the North Carolina American Association on Mental Retardation,
       Greensboro, NC.

Paraschiv, I., & Olley, J. G. (1998, April). Problem Solving for Life: Social skills training for
      adults with mental retardation/developmental disabilities. Paper presented at the
      conference of the YAI: National Institute for People with Disabilities, New York, NY.

Olley, J. G., Golden, J., & Bailey, J. (1998, May). One act with three players: Turning critics of
       behavior analysis into partners for positive change. Symposium presented at the
       meeting of the Association for Behavior Analysis, Orlando, FL.

Olley, J. G. (1998, May). Discussant for symposium The Ralph J. Bauduin Oral School:
       Research and program design for children with autism. Symposium presented at the
       meeting of the Association for Behavior Analysis, Orlando, FL.
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Olley, J. G. (1998, September). What do we know about autism that is new? Invited paper
       presented at the meeting of the North Carolina American Association on Mental
       Retardation, Greensboro, NC.

Olley, J. G., Carswell, R., & Palmer, G. (1998, October). Successful behavior interventions.
       Invited presentation at Together We Can! Using Positive Behavior Support in the
       Classroom and at Home. Greensboro, NC.

Olley, J. G., & Paraschiv, I. (1998, November). A program to teach problem solving skills for
       independent living. Paper presented at the meeting of NADD: An Association for
       Persons with Developmental Disabilities and Mental Health Needs, Albuquerque, NM.

Olley, J. G., Paraschiv, I., & Carswell, R. (1999, May). Problem solving as a format for
    supporting self-determination and choice-making. Pre-conference workshop presented at
    the meeting of the American Association on Mental Retardation, New Orleans, LA.

Olley, J. G. (1999, September). Mental retardation and the criminal justice system. Paper
    presented at the meeting of the North Carolina American Association on Mental
    Retardation, Greensboro, NC.

Olley, J. G. (1999, September). Progress in services and supports for people with disabilities:
    One person makes a difference. Invited presentation at the meeting of the North Carolina
    American Association on Mental Retardation, Greensboro, NC.

Olley, J. G. (1999, October). Prader-Willi syndrome and other low prevalence disorders. Paper
    presented at the meeting of the Community Living Association, Atlantic Beach, NC.

Olley, J. G., Tassé, M., & Havercamp, S. (2000, February). Applications of applied behavior
    analysis in community settings serving people with disabilities. Paper presented at the
    meeting of the North Carolina Association for Behavior Analysis, Asheville, NC.

Olley, J. G., Carswell, R., Finks, W., & Dorton, R. (2000, April). Sex and relationships: When to
    say yes and when to say no. Workshop presented at the North Carolina Self-Advocacy
    Convention, Winston-Salem, NC.
Olley, J. G. (2000, May). Activity schedules as a guide to community consultation: A call for
    research. Paper presented at the meeting of the Association for Behavior Analysis
    International, Washington, DC.

Dykeman, C., Pennell, R. L., Dawkins, B., Holden, J., & Olley, J. G. (2001, May). Factors
   associated with problem behavior in the Special Olympics World Summer Games. Paper
   presented at the meeting of the Association for Behavior Analysis International, New
   Orleans, LA.

Holburn, C. S., Vietze, P. M., Olley, J. G., & Baer, D. M. (2001, May). Is applied behavior
   analysis adapting to the changing DD environment? Panel discussion at the meeting of the
   Association for Behavior Analysis International, New Orleans, LA.

Golden, J. A., Strickland, D., Olley, J. G., & Cripe, M. (2001, May). Trauma in foster children:
   Perspectives and contributions from behavior analysis. Pannel discussion at the meeting of
   the Association for Behavior Analysis International, New Orleans, LA.
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Olley, J. G., & Yates, L. (2001, May). Criminal justice initiatives: A report from the DD/Criminal
    Justice Work Group. Paper presented at the Best Practices in Developmental Disabilities
    Conference, Greensboro, NC.

Olley, J. G. (2002, February). Effective services for students with autism: What do we know
    and what do we need to know? Invited presentation at the Alaska Statewide Special
    Education Conference, Anchorage, AK.

Olley, J. G. (2002, April). Autism and developmental disorders. Invited presentation at the
    meeting of the Maryland School Psychology Association, Baltimore, MD.

Paraschiv, I., & Olley, J. G. (2003, February). Teaching problem solving for community living.
   Paper presented at the meeting of the Council on Exceptional Children's Division on
   Developmental Disabilities, Koloa, HI.

Olley, J. G. (2003, April). Autism: What do we know and what do we need to know? Invited
    paper presented at the 19th Annual Sharing Our Best Conference, Hastings, NE.

Olley, J. G. (2003, May). Cautions in evaluating alternative therapies and approaches. Paper
    presented at the Best Practices in Developmental Disabilities Conference, Greensboro,
    NC.

Olley, J. G. (2003, November). Mental retardation and the death penalty: The psychologist as
    expert witness. Invited presentation at the meeting of the Virginia Bar Association,
    Richmond, VA.

Everington, C., & Olley, J. G. (2004, March). An analysis of forensic psychological evaluations
   in capital cases involving defendants with mental retardation: Has Atkins made a
   difference? Paper presented at the meeting of the American Psychology-Law Society,
   Scottsdale, AZ.

Olley, J. G. (2004, May). Psychological assessment of mental retardation in capital cases.
    Invited presentation at the Capital Habeas Unit Conference, Administrative Office of the
    U.S. Courts, Ponte Vedra Beach, FL.

Olley, J. G. (2004, October). Recent advances in the education of children with autism.
    Presentation at the Fall NCAAMR Institute, Morganton, NC.

Olley, J.G. (2006, May). The death penalty: Issues in expert testimony in Atkins hearings.
    Paper presented at the meeting of The International Summit for the Alliance on Social
    Inclusion, Montreal, Canada.

Olley, J. G. (2006, August). Symposium Chair: Mental retardation and the death penalty:
    Challenges facing psychologists. Symposium at the meeting of the American
    Psychological Association, New Orleans, LA.
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Olley, J. G. (2006, August). Search for professional standards in Atkins hearings. Paper
    presented at the meeting of the American Psychological Association, New Orleans, LA.

Olley, J. G., & Everington, C. (2007, March). The measurement of adaptive behavior in Atkins
    cases. Paper presented at the Off the Witness Stand conference, John Jay College of
    Criminal Justice, New York.

Salekin, K. L., & Olley, J. G. (2008, March). Conducting an “Atkins” evaluation: What we know,
    what we don’t know, and what we need to find out. Workshop presented at the meeting of
    the American Psychology-Law Society, Jacksonville, FL.

Olley, J. G. (2008, August). Psychology training in developmental disabilities at the University
    of North Carolina at Chapel Hill. Paper presented at the meeting of the American
    Psychological Association, Boston, MA.

Olley, J. G. (2008, August). Symposium Chair: Intellectual disability and the death penalty:
    Current and future contributions of psychologists in Atkins cases. Symposium at the
    meeting of the American Psychological Association, Boston, MA.

Salekin, K. L., & Olley, J. G. (2008, August). What does research tell us, and what research do
    we need in Atkins cases? Paper presented at the meeting of the American Psychological
    Association, Boston, MA.

Olley, J.G. (2008, November). Symposium Chair: Challenges facing professional organizations
    in developmental disabilities. Symposium at the Annual Meeting of the Association of
    University Centers on Disabilities, Washington, DC.

Olley, J. G., Salekin, K. L., & Siperstein, G. N. (2009, March). Diagnosis of intellectual
    disability in high stakes conditions: Translating basic research to practice in death penalty
    cases. Paper presented at the 43rd Annual Gatlinburg Conference on Research and
    Theory in Intellectual and Developmental Disabilities, New Orleans, LA.

Olley, J. G. (2009, October). Investigating intellectual disabilities with a focus on adaptive
    functioning. Invited presentation at the Capital Case Seminar of the Los Angeles County
    Public Defender’s Office, Los Angeles, CA.

Olley, J. G., & Stevens, K. C. (2010, January). Recognizing and explaining mild mental
    retardation. Death Penalty 2010: Continuing Legal Education Seminar of the North
    Carolina Advocates for Justice, Cary, NC.

Olley, J. G. (2010, August). The death penalty, the courts, and what we have learned about
    intellectual disability. Division 33 Presidential Address presented at the meeting of the
    American Psychological Association, San Diego, CA.

Olley, J. G. (2011, February). The expert witness, intellectual disability, and the death penalty.
    Invited address presented at the California Attorneys for Criminal Justice and California
    Public Defenders Association Capital Case Defense Seminar, Monterey, CA.
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Olley, J. G., & Yackel-Christenson, J. (2011, March). Atkins investigation: Roles and
    responsibilities of the mitigation specialist. Invited 3-part presentation at the meeting of the
    National Alliance of Sentencing Advocates and Mitigation Specialists, Orlando, FL.

Olley, J. G. (2011, March). Lessons learned from Atkins v. Virginia: Implications for juveniles.
    Invited presentation at the National Judges’ Science School: Developmental Forensics of
    Children Adjudicated by Courts, Chapel Hill, NC.

Olley, J. G. (2011, August). Chair: Perspectives on intellectual disability and the death penalty
    – Toward more effective contribution of psychologists in Atkins cases. Invited Symposium
    at the Convention of the American Psychological Association, Washington, DC.

Salekin, K. L. & Olley, J. G. (2011, August). Eligible for execution? Assessment of intellectual
    disability as per Atkins. Continuing Education Workshop presented at the Convention of
    the American Psychological Association, Washington, DC.

Olley, J. G., & Yackel, J. C. (2011, October). Building partnerships: The complementary role of
    mitigation specialist and evaluating experts. Invited presentation at Advanced Capital
    Training, New Orleans, LA.

Greenman, L., & Olley, J. G. (2011, November). Exploring intellectual disability in your client.
   Invited presentation at the Virginia Bar Association Capital Defense Workshop, Richmond,
   VA.

Olley, J. G., & Yackel, J. C. (2011, November). Investigating capital cases involving dual
    diagnosis. Paper presented at the annual meeting of NADD: An Association for Persons
    with Developmental Disabilities and Mental Health Needs, Nashville, TN.

Salekin, K. L., Olley, J. G., & Ellis, J. (2012, June). The assessment of ID in capital cases.
    Workshop presented at the annual conference of the American Association on Intellectual
    and Developmental Disabilities, Charlotte, NC.

Yackel, J. C., & Olley, J. G. (2012, November). Understanding the law and science between
   Atkins and its progeny. Invited presentation at the Life in the Balance conference of the
   National Legal Aid and Defender Association, St. Louis, MO.

Garvey, S., & Olley, J. G. (2013, October). Investigating and presenting evidence of adaptive
   deficits. Invited presentation at the Habeas Corpus Resource Center Fall Conference
   2013, San Francisco, CA.

Salekin, K. L., & Olley, J. G. (2014, March). Evaluation of intellectual disability in capital cases:
    Twelve years post Atkins. Workshop presented at the meeting of the American
    Psychology-Law Society. New Orleans, LA.
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Olley, J. G., & Miller, C. N. (2014), June). Challenges in assessing intellectual and adaptive
    functioning in foreign nationals. Paper presented at the meeting of the American
    Association on Intellectual and Developmental Disabilities, Orlando, FL.

Olley, J. G. (2014, November). People with intellectual disability and autism in the criminal
    justice system. Paper presented at the meeting of NC Training, Instruction, Development,
    and Education, Asheville, NC.

Nygren, M. A., Polloway, E. A., Tassé, M. J., & Olley, J. G. (2015, June). Focus on the death
   penalty. Panel presentation at the meeting of the American Association on Intellectual and
   Developmental Disabilities, Louisville, KY.

Olley, J. G. (2015, August). Stereotypes of intellectual disability affect death penalty decisions:
    Examples from court opinions. Paper presented at the convention of the American
    Psychological Association, Toronto, Ontario.

Olley, J. G. (2015, August). Adaptive deficits: The current state of the science. Invited
    presentation at the Twentieth Annual National Federal Habeas Corpus Seminar, Charlotte,
    NC.

Olley, J. G. (2016, September). Identifying persons with intellectual disability. Keynote
    Address at the Georgia Capital; Defenders’ Quarterly Training Conference, Atlanta, GA.

Olley, J. G. (2016, October) Intellectual disability: Understanding intelligence testing. Invited
    address at the 2016 Association of Administrative Law Judges Education Conference, San
    Diego, CA.

Olley, J. G., & Hazelrigg, M. (2017, May). Intellectual disability. Presentation at Capital Case
    Management for Superior Court Judges, North Carolina Judicial College, Chapel Hill, NC

Olley, J. G. (2018, January). Gathering information and providing expert testimony on adaptive
       behavior functioning in capital cases. Invited paper presented at the 2018 Texas
       Summit on the Assessment of Adaptive Behavior in Capital Cases, Austin, Texas.
Olley, J. G. (2019, May). Interviewing victims: Key issues and challenges. Invited presentation
       at the Annual Meeting and Conference of the North Carolina Partnership to Address
       Adult Abuse, Raleigh, NC.
Olley, J. G., Reschly, D., Yackel, J., & Salekin, K. (2019, August). New developments in the
    death penalty and people with intellectual disability. Continuing education workshop
    presented at the Convention of the American Psychological Association, Chicago, IL.
Olley, J. G. (2020, July). Evaluation of intelligence in Atkins cases. Continuing education
    symposium presented by Zoom at the National Association for Public Defenders
    Symposium.

Posters
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Olley, J. G., Hooper, S. R., & Flagler, S. (1990, October). Assessment of the social-emotional
    status of adults with mental retardation using self-report. Poster presented at the meeting
    of the American Association of University Affiliated Programs in Developmental Disabilities,
    Madison, WI.

Olley, J. G., Hooper, S. R., & Flagler, S. (1990, October). Personal adjustment counseling for
    young adults with mental retardation. Poster presented at the meeting of the American
    Association of University Affiliated Programs in Developmental Disabilities, Madison, WI.

Olley, J. G., Paraschiv, I., Allison, J., & Jacob, A. V. (1996, September). Problem Solving for
    Life: Adult education for individuals with mental retardation. Poster presented at the
    meeting of the North Carolina chapter of the American Association on Mental Retardation,
    Raleigh, NC.

Olley, J. G., Paraschiv, I., & Jacob, A. V. (1997, May). Learning for Life: A training program to
    assist the Compensatory Education of adults with mental retardation. Poster presented at
    the meeting of the American Association on Mental Retardation, New York, NY.

Paraschiv, I., & Olley, J. G. (1997, May). Effectiveness of a training program in social problem
   solving skills. Poster presented at the meeting of the American Association on Mental
   Retardation, New York, NY.

Olley, J. G., & Carswell, R. (1998, September). The behavioral supports clearinghouse. Poster
    presented at Together We Can! Using Positive Behavior Support in the Classroom and at
    Home, Greensboro, NC.

Paraschiv, I., Olley, J. G., & Carswell, R. L. (1999, April). A program to teach problem solving
   as a skill for independent decision making. Poster presented at the meeting of the Council
   for Exceptional Children, Charlotte, NC.


Book Reviews

Olley, J. G. (1979). Review of Mental Retardation: A developmental approach by C. C.
    Cleland, Mental retardation: The changing outlook by R. P. Ingalls, and Retardation:
    Issues, assessment, and intervention by J. T. Neisworth & R. M. Smith. Journal of Autism
    and Developmental Disorders, 9, 131-133.

Olley, J. G. (1986). Review of Annotated bibliography of autism: 1943-1983 by A. J. Tari, J. L.
    Clewes, & S. J. Semple. Journal of Autism and Developmental Disorders, 16, 245-246.

Olley, J. G. (1986). Review of Classic readings in autism by A. Donnellan (Ed.). Journal of
    Autism and Developmental Disorders, 16, 394-395.

Olley, J. G. (1987). Review of Management of autistic behavior: Information service for
    educators. Edited by R. L. Simpson & M. Regan. Journal of the Association for Persons
    with Severe Handicaps, 12, 72-73.

Olley, J. G. (2006). Review of Lessons learned from a lawsuit: Creating services for people
   with mental illness and mental retardation, Social Science & Medicine, 62, 523-524.
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Instructional Materials

Olley, J. G., Paraschiv, I., Allison, J., & Jacob, A. V. (2000). Problem solving for life: Teaching
    problem solving to adolescents and adults with developmental disabilities. Clinical Center
    for the Study of Development and Learning, University of North Carolina at Chapel Hill:
    Chapel Hill, NC.


Memberships in Professional Associations

American Psychological Association (Life Member; member of Divisions 25 & 41; Fellow in
   Division 33)
   President, Division on Intellectual and Developmental Disabilities 2009-2010
American Association on Intellectual and Developmental Disabilities (formerly American
   Association on Mental Retardation) (Fellow, Life Member)
North Carolina Chapter, American Association on Intellectual and Developmental Disabilities
   (Chair, Committee on Research)
North Carolina Association for Behavior Analysis (President 1992-93)

Licensure

Licensed Psychologist, North Carolina, license number 587.


Community and Professional Service (since 1990 only)


1990 - 1993                 Member, Exceptional Children's Advisory Council, Chapel Hill-
                            Carrboro City Schools

1992 - 1993                 President, North Carolina Association for Behavior Analysis

1992 - 2007                 Behavioral consultant to NC Arc Lifeguardianship

1993 - 1998                 Member, National Community Education Directors Council,
                            American Association of University Affiliated Programs

1994 - 2002                 Member, Area Board of the Orange-Person-Chatham Mental
                            Health, Developmental Disabilities, and Substance Abuse Services
                            (Secretary 1999-2002); Committee on Developmental Disabilities
                            (1994-2002); Client Rights Committee (1994-2008)

1995 - 2006                 Consultant: The North Carolina Mentor Network

1995 - 2000                 Consultant: Southeastern Regional MH, DD, and SA Services,
                            Thomas S. Section

1996 - 1998                 Consultant: Piedmont Area MH, DD, and SA Services,
                            Thomas S. Section

1998                        Grant Application Panel Review Member. National Institute on
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                 Disability and Rehabilitation Research, U.S. Dept. of Education

1998 - 2008      Member, North Carolina Council on Developmental Disabilities

2000 – 2012      Chair, Committee on Research, North Carolina American
                 Association on Intellectual and Developmental Disabilities

2002 – 2007      Ex Officio Member, North Carolina Governor’s Advocacy Council
                 for Persons with Disabilities

2002             Member, NC Health Choice Task Force

2000 – 2007      Member, North Carolina Partners in Justice Advisory Committee

2005 - present   Member, ad hoc Committee on Developmental Disability and the
                 Criminal Justice System, Division 33, American Psychological
                 Association (Chair 2005-2015)

2008             Ex Officio Member, Disability Rights North Carolina

2008 - 2014      Member, North Carolina Commission for Mental Health,
                 Developmental Disabilities, and Substance Abuse Services
                 (Vice-Chair, 2009 – 2011 ; Chair, 2011-2014)

2009 -2011       Member, American Association on Intellectual and Developmental
                 Disabilities Task Force on Intellectual Disability and the Death
                 Penalty

2014-2019        Member, Policy and Positions Committee, Arc of the United States

2018-2020        Chair, Committee on the Constitution and By-Laws, Division 33 of
                 the American Psychological Association.
